

Matter of Alioun T. (2024 NY Slip Op 00604)





Matter of Alioun T.


2024 NY Slip Op 00604


Decided on February 06, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 06, 2024

Before: Singh, J.P., Moulton, Gesmer, Mendez, Rodriguez, JJ. 


Docket No. D5892/22 Appeal No. 1588 Case No. 2023-02758 

[*1]In the Matter of Alioun T., a Person Alleged to be a Juvenile Delinquent, Appellant.


Dawne A. Mitchell, The Legal Aid Society, New York (Polixene Petrakopoulos of counsel), for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Hannah J. Sarokin of counsel), for respondent.



Order, Family Court, New York County (Jonathan H. Shim, J.), entered on or about December 1, 2022, which adjudicated appellant a juvenile delinquent upon his admission that he committed an act that, if committed by an adult, would constitute the crime of criminal possession of a firearm, and placed him on probation for a period of 24 months, unanimously affirmed, without costs.
The court providently exercised its discretion when it adjudicated appellant a juvenile delinquent and placed him on enhanced supervision probation, which was recommended by the Probation Department, and which was the least restrictive available alternative consistent with his best interests and the need for protection of the community (see Matter of Katherine W., 62 NY2d 947, 948 [1984]). An adjournment in contemplation of dismissal would not have provided sufficient supervision, in view of the seriousness of the underlying offense, which involved the possession and discharge of a firearm (on a weekday, during rush hour and near a school), appellant's failure to accept responsibility and false statements to Probation minimizing his conduct, his pattern of truancy and poor academic performance (see Matter of Pedro H., 145 AD3d 563, 563-564 [1st Dept 2016]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 6, 2024








